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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-03800-RMR-STV

   PHILIP A. BRALICH, PH.D.

         Plaintiff,

   v.

   MICHAEL GAYNER, EXECUTIVE DIRECTOR, SHAMBHALA MOUNTAIN CENTER,
   MEMBERS OF THE SHAMBHALA BOARD,
   MEMBERS OF SHAMBHALA INT’L CARE AND CONDUCT COMMITTEE,
   MEMBERS OF THE COUNCIL OF MAKYI RABJAN,
   SHAMBHALA MOUNTAIN CENTER CARE AND CONDUCT OFFICERS,
   THE GOVERNING COUNCIL OF SHAMBHALA MOUNTAIN CENTER,
   CHARLES G. LIEF,
   JOY VALANIA,
   BETSY RAILLA,
   BOULDER SHAMBHALA CENTER,
   SEATTLE SHAMBHALA CENTER,
   DAN PETERSON,
   CHRISTY CASHMAN,
   JUDITH SIMMER-BROWN,
   TIMOTHY QUIGLEY,
   ERIC SPIEGEL,
   GWIN STEWART,
   KATHY SPIER,
   KATHY KINCAID,
   DEFENSE LANGUAGE INSTITUTE AND FOREIGN LANGUAGE CENTER,
   KELLY FINEY,
   MILWAUKEE SHAMBHALA CENTER,
   BERKELEY SHAMBHALA CENTER,
   SAN FRANCISCO SHAMBHALA CENTER,
   BARRY A. SULLIVAN, ESQ.,
   SUSAN COATES,
   MARTHA RZASA.

         Defendants.
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   DEFENDANT BOULDER SHAMBHALA CENTER’S RESPONSE TO PLAINTIFF’S
     OBJECTION TO MAGISTRATE JUDGE’S ORDER DENYING MOTION FOR
                         RECONSIDERATION


          Defendant BOULDER SHAMBHALA CENTER, a trade name for SHAMBHALA

   USA, a religious nonprofit corporation, by its attorneys, LASATER & MARTIN, P.C.,

   pursuant to Fed. R. Civ. P. 72(b) and 28 U.S.C. § 636(b)(1), respectfully submits the

   following Response to Plaintiff’s Objection [Doc. 190] to Magistrate’s Order Denying

   Motion for Reconsideration [Doc. 188], and requests that the Objection be overruled.

          A.     STANDARD OF REVIEW

          The standard of review under Fed. R. Civ. P. 72(a), for nondispositive motions, is

   to determine whether the Magistrate’s order is “clearly erroneous or contrary to law.”

   Fed. R. Civ. P. 72(a). “An order is clearly erroneous when the reviewing court on the

   entire evidence is left with the definite and firm conviction that a mistake has been made.”

   Cook v. Rockwell Int'l Corp., 147 F.R.D. 237, 242 (D. Colo. 1993). Further, new arguments

   raised for the first time in the Objection to the Magistrate’s Order are deemed waived.

   Baldwin v. United States, Civil Action No. 11-cv-02033-MSK-KLM, 2013 U.S. Dist. LEXIS

   18080 *13-14 (D. Colo. Feb. 8, 2013). See, Thorndike v. DaimlerChrysler Corp., 288 F. Supp.

   2d 50 (D. Me. 2003) (When pretrial motion is referred to magistrate judge, party must

   raise before magistrate judge all pertinent issues generated by motion and make known

   to magistrate judge all of its arguments, contentions, and statements of position on which



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   it relies to achieve favorable decision; party is not entitled to de novo review by district

   judge of argument never seasonably raised before magistrate judge.)

          B.     PLAINTIFF’S OBJECTION TO THE MAGISTRATE’S ORDER
                 FOR RECONSIDERATION SHOULD BE OVERRULED.

          1.     THE MAGISTRATE JUDGE’S ORDER IS NOT CLEARLY CONTRARY TO LAW.

          Magistrate Judge Scott T. Varholak’s Order is not clearly contrary to the law and

   there is no showing that an error has been made in this instance. Plaintiff motion for

   reconsideration asked that the Magistrate Judge reconsider several of its prior orders,

   namely, “the Court's decisions to suspend the deadline for defendants to respond to the

   operative complaint, the Court's orders setting status conferences, and the Court's order

   finding that the deadline for Defendants to submit motions to quash has not expired.’

   [Order, Doc. 188, p.1] The Order was well reasoned and applied the appropriate

   standards and factors when evaluating a motion for reconsideration.

          Notable, Plaintiff fails to show how Magistrate Judge Scott T. Varholak misapplied

   the law regarding a motion for reconsideration. Fundamentally, Plaintiff fails to show

   how any of the Orders of the Magistrate Judge, were “clearly erroneous or contrary to

   law.” Fed. R. Civ. P. 72(a).

          (A)    MOTION FOR RECONSIDERATION           OF   CANCELLATION     OF   STATUS
                 CONFERENCE

          The Plaintiff’s Motion for Reconsideration [Doc. 161] appears to seek

   reconsideration of this Court’s Orders of March 15, 2021 [Doc 46], March 17, 2021 [Doc.

   51], and June 1, 2021 [Doc. 95] regarding setting a status conference.


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           As this court noted in its Order [Doc. 46] regarding a prior Motion for

   Reconsideration [Doc. 42] filed by Plaintiff:

           The Federal Rules of Civil Procedure do not specifically provide for
           motions for reconsideration. Hatfield v. Bd. of Cty. Comm'rs for Converse Cty.,
           52 F.3d 858, 861 (10th Cir. 1995). "Grounds warranting a motion to
           reconsider include (1) an intervening change in the controlling law, (2) new
           evidence previously unavailable, and (3) the need to correct clear error or
           prevent manifest injustice." Servants of Paraclete v. Does, 204 F.3d 1005, 1012
           (10th Cir. 2000). "A motion to reconsider... should be denied unless it clearly
           demonstrates manifest error of law or fact or presents newly discovered
           evidence." Nat'l Bus. Brokers, Ltd. v. Jim Williamson Products, Inc., 115 F.
           Supp. 2d 1250, 1256 (D. Colo. 2000) (quotation omitted). The Motion fails to
           clearly demonstrate any manifest error or law or fact.

   Id at *1.

           Here, there is no showing of manifest error of law or fact. As has been repeatedly

   discussed, setting a status conference was appropriate and affords the court and the

   parties the opportunity to ensure the appropriate progression of the case. As noted in

   the Amended Motion for Extension of Time and Request for Status Conference [Doc. 12],

   the Plaintiff brings a claim against twenty-six Defendants. The claims for relief include a

   myriad of claims including civil rights claims, RICO civil claims, defamation, and

   extortion claims. The claims also involve a long period of time with allegations stemming

   from the year 1983. To date, Plaintiff had not completed service on all Parties (and still

   has not) and there remain outstanding questions as to which individuals service of

   process have been completed. Further, a number of individuals appear to have been

   named in their representative capacity, only, for various Boards, and are no longer

   participants on those Boards nor personally involved or identified in the substance of the


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   Complaint [Doc. 1], Amended Complaint [Doc. 4] nor Second Amended Complaint [Doc.

   6]. At the time of filing, it remained unclear as to which Defendants Plaintiff has

   attempted service and how service was completed, the Parties anticipated motions to

   quash service may be necessary.

            Based upon the allegations contained of the Amended Complaint, the Parties

   likely share a number of common defenses and a Motion to Dismiss may be available for

   the Defendants. It is an appropriate use of judicial resources and case management to

   adopt a uniform briefing schedule for the Parties once the Defendants have been served.

   Further, with counsel present, a determination can be made as to which parties a waiver

   of service may be appropriate. Further, a status conference would also serve the interest

   of judicial economy in addressing a briefing schedule for Motions to Dismiss, if

   appropriate, page limitations or combined briefs, as well as the adoption of a Scheduling

   Order.

            The Motion was granted [Doc. 15] and a Telephonic Status Conference was set. A

   telephonic status conference occurred on May 24, 2021 [Doc. 168] and on July 29, 2021

   [Doc. 169]. Plaintiff has not been prejudiced and there was no error in the prior Orders

   regarding setting this matter for a status conference.    The Plaintiff’s Objection to the

   Court’s Order should be overruled.

            (B)   RECONSIDERATION OF THE COURT ORDER          REGARDING   FAILURE   TO
                  MEET DEADLINES FOR MOTION TO QUASH

            Plaintiff’s Motion for Reconsideration [Doc. 161] appears to seek reconsideration



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   of this Court’s Order [Doc. 155] entered on August 27, 2012. That Order provided the

   following:

         ORDER This matter is before the Court on [149] Plaintiff's Motion to Accept
         All Services of Summons (the "Motion to Accept") and [151] Plaintiff's
         Motion to Cancel the October 27, 2021 Status Conference and Rule on
         Current Evidence and Argument (the "Motion to Cancel"). Through the
         Motion to Accept, Plaintiff requests that the Court "accept all services of
         summonses as the deadline to file motions to quash ha[s] passed." At the
         last status conference, the Court "maintain[ed] the stay on response
         deadlines for all Defendants who have been properly served to respond to
         the complaint" and noted that "Defendants who have been purportedly
         served but who believe service was improper will be permitted to file
         motions to quash." The Court, however, did not impose any deadline for
         Defendants to file motions to quash and Plaintiff has not provided any
         authority for the imposition of such a deadline. Pursuant to Rule 12(b), "[a]
         motion asserting [insufficient service of process] must be made before
         pleading if a responsive pleading is allowed." Thus, because Defendants
         have not yet filed responsive pleadings and the deadline for them to do so
         has been suspended, the deadline for filing motions to quash has not
         expired for any of the named Defendants and the Motion to Accept is
         DENIED. However, the Court strongly encourages Defendants who have
         been purportedly served but who believe service was improper to file any
         motion to quash as expeditiously as possible so that this matter may
         proceed in an efficient and timely manner.

         Again, as this court noted in its prior Order [Doc. 46]:

         The Federal Rules of Civil Procedure do not specifically provide for
         motions for reconsideration. Hatfield v. Bd. of Cty. Comm'rs for Converse Cty.,
         52 F.3d 858, 861 (10th Cir. 1995). "Grounds warranting a motion to
         reconsider include (1) an intervening change in the controlling law, (2) new
         evidence previously unavailable, and (3) the need to correct clear error or
         prevent manifest injustice." Servants of Paraclete v. Does, 204 F.3d 1005, 1012
         (10th Cir. 2000). "A motion to reconsider... should be denied unless it clearly
         demonstrates manifest error of law or fact or presents newly discovered
         evidence." Nat'l Bus. Brokers, Ltd. v. Jim Williamson Products, Inc., 115 F.
         Supp. 2d 1250, 1256 (D. Colo. 2000) (quotation omitted). The Motion fails to
         clearly demonstrate any manifest error or law or fact.



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   Id at *1.

           Plaintiff fails to show a manifest error of law of fact. On February 26, 2021, the

   motion to extend the deadline for all defendants to respond to Plaintiff's Amended

   Complaint was granted, until a unified briefing schedule is set by the Court for all

   defendants. [Doc. 15]. As noted in the Clerk’s Note Regarding Default [Doc. 41], dated

   March 15, 2021, the time to answer or otherwise respond has not expired. On July 29,

   2021, the court entered an Order [Doc. 141] providing:

           The court will maintain the stay on response deadlines for all Defendants
           who have been properly served to respond to the complaint. Defendants
           who have been purportedly served but who believe service was improper
           will be permitted to file motions to quash.

           Again, on August 26, 2021, the Court entered an order [Doc. 153] stating that

   default will not enter as to any Defendants as the court has suspended the deadline for

   defendants to respond. This Court’s Order [Doc. 155] quoted above, dated August 27,

   2021, “strongly encourages Defendants who have been purportedly served but who

   believe service was improper to file any motion to quash as expeditiously as possible so

   that this matter may proceed in an efficient and timely manner.” Motions to Quash

   followed on September 1, 2021, [Doc. 156] and [Doc. 157], and on September 13, 2021

   [Doc. 162].

           The time to answer the Complaint has not passed and the deadline for filing

   motions to quash has not expired for any of the named Defendants. Absent an error in

   law of fact, the Plaintiff’s Objection to the Court’s Order should be overruled.



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          (C)    FAILURE TO ENFORCE DEADLINES             FOR   MOTIONS     TO   QUASH
                 SUMMONSES

          For the reasons stated above, there is no error regarding the setting a status

   conference nor application of the law regarding time to serve a motion to quash. Nor

   does setting a status conference “constitutes a de facto and de jure acceptance of the

   complaint.” [Objection, Doc. 190, p.2] There is no authority or case law cited for this novel

   interpretation of the Federal Rules of Civil Procedure, and there is none. Regardless,

   Plaintiff has pending his own Motion to Amend the Complaint [Doc. 106] which is at

   issue, an the Parties do not have an operative Complaint. Further action by this court is

   unwarranted and Plaintiff’s Objection should properly be overruled.

          WHEREFORE, Defendant BOULDER SHAMBHALA CENTER respectfully

   request that this court overrule the Plaintiff’s Objection [Doc. 190] to the Magistrate

   Judge’s Order [Doc. 188] Denying Reconsideration.

                                             Respectfully submitted,

                                             LASATER & MARTIN, P.C.

                                             By: /s/ Peter H. Doherty           .
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                                  CERTIFICATE OF SERVICE

          I CERTIFY that a true and correct copy of the foregoing DEFENDANT BOULDER
   SHAMBHALA CENTER’S RESPONSE TO PLAINTIFF’S OBJECTION TO
   MAGISTRATE JUDGE’S ORDER DENYING MOTION FOR RECONSIDERATION
   was electronically filed with the Clerk of Court using the CM/ECF (NextGen) system, on
   November 5, 2021, and served on the following:

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